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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division



INTERSECTIONS INC.

and

NET ENFORCERS, INC.                                    Case No.: 1:09cv-0597 (LMB/TCB)
                    Plaintiffs,
               v.

JOSEPH C. LOOMIS

and

JENNI M. LOOMIS

                    Defendants.


                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Ryan C. Berry, an associate with DLA Piper LLP (US),

and admitted to practice in this District, hereby enters his appearance as counsel for Plaintiffs

Intersections Inc. and Net Enforcers, Inc.

Dated: June 17, 2009                                  Respectfully submitted,


                                              By:         /s/
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                                                              and Net Enforcers, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th of June, 2009, I will electronically file the foregoing with
the Clerk of the Court using the CM/ECF system.

        And I hereby certify that I will mail the document by U.S. mail to the following non-
filing user:

                                      Rodney F. Page, Esquire
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                                                                 /s/
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